               Case 4:15-cv-00193-BSM Document 1 Filed 04/06/15 Page 1 of 3


                                 UNITED STATES DISTRICT COURT                            FILED
                                                                                       US DIST HICT COUF~T
                                                                                   EASTERN 01srn1c1 Al~KANSAS
                                 EASTERN DISTRICT OF ARKANSAS
                                     LITTLE ROCK DIVISION
                                                                                         APR 0 6 2015
                                                                               JAM
ARTHUR CARSON,                                                                 By:_.._~e_p.~fb(-.)~~---
PLAINTIFF,

JEWELLEAN MOORE,
PLAINTIFFS,


VS.

JODIE SUMLIN, COLONIAL PARC APT.,
DEFENDANT,

APPFOLIO INC.,
DEFENDANTS.


                            REQUEST TO PROCEED IN FORMAPAUPERIS


I, Arthur Carson, am the Plaintiff in the above entitled case, in support of My Request to proceed
without being required to prepay fees or costs or give security therefor, I state that because of My
poverty I am unable to pay the costs of said proceeding or give security therefor, that I believe I am
entitled to redress.

I declare that the answers to responses which I have made below are true.

      1). I am not presently employed.
      2). I have not received within the past twelve months any money from any of the following;
          business, profession, or form of self-employment;
          Rent payments, interest, or dividends;
          Pensions, annuities, or life insurance payments;
          Gifts or inheritances;
          I receive $733 Monthly as SSI payments;
      3). I do not own any cash; my checking account balance is $18.00; I have no savings account.
      4). I do not own any real estate, stocks, bonds, notes; I currently Co-financed an automobile,
          (2005 Saturn ION) with Monthly payments of$325.00 with Discount Auto.
      5). I do not own other valuable property (excluding ordinary household furnishings and clothing).
      6). I have attached a copy of My SSI award letter in support of My income.

I Understand that a false statement or answer to the above declaration will subject me to penalties
for perjury.

                                                        (1)
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[Page 2 of in forma pauperis request]




Arthur Carson
8215 Spanish RD
Little Rock, AR 72209
(501-240-3437)




                                         (2)
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    Social Security Administration

                                                                                Date: March 5, 2015
                                                                                Claim Number: XXX-XX-8467DI
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       000753 1 MB 0.435 P003 T0004 LTR BEV 0305
                ARTHUR WAYNE CARSON
      F~~       8215 SPANISH RD
      ~         LITTLE ROCK AR 72209-7129




    You asked us for information from your record. The information that you
    requested is shown below. If you want anyone else to have this information,
    you may send them this letter.
    Information About Supplemental Security Income Payments
     Beginning January 2015, the current Supplemental Security Income
     payment is $ 733.00.                    .
     This payment amount may change from month to month if income or living
     situation changes.
     Supplemental Security Income Payments are paid the month they are due.
     (For example, Supplemental Security Income Payments for March are paid in
     March.)
    Date of Birth Information
     The date of birth shown on our records is April 4, 1954.
    Type of Supplemental Security Income Payment Information
     You are entitled to monthly payments as a disabled individual.
~   Suspect Social Security Fraud?
     Please visit http://oig.ssa.gov/r or call the Inspector General's Fraud Hotline
     at 1-800-269-0271 (TTY 1-866-501-2101).




                                                                    See Next Page
